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  Attorneys for the Plaintiff                                              DOCUMENT
  462 Sagamore Avenue, Suite 2                                             ELECTRONICALLY FILED
  East Williston, NY 11596                                                 DOC #:
                                                                           DATE FILED: 2/19/2021
  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------X
  K & S PRODUCE, INC.
                                                                         Case No. 1:20-cv-08786-GHW
                                     Plaintiff,
                                                                         ORDER TO SHOW CAUSE
                    -against-                                            FOR A DEFAULT JUDGMENT

  100 BROAD STREET, LLC a/k/a ESSEN FOOD,
  ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,
  CHONG WON BYUN, and WILLIAM BYUN
  Individually and in any corporate capacity.

                                      Defendants.
-------------------------------------------------------------------- X

           Upon the Declaration of Timothy J. Fierst , Esq. dated February 16, 2021, the Declaration

  of Lee Pakulsky dated February 16, 2021 and the exhibits annexed thereto, the Memorandum in

  Support of Plaintiff’s Motion for Default Judgment against 100 BROAD STREET LLC a/k/a

  ESSEN FOOD, ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN, CHONG WON BYUN, and

  WILLIAM BYUN, and upon all the prior proceedings had and papers filed herein in support of

  Plaintiff s application for a default judgment against the defendants, jointly and severally, it is

  hereby

       ORDERED, that the above-named Defendants show cause at a conference before the

  Honorable Gregory H. Woods, United States District Judge on the 12th day of March, 2021

  at 10:00 a.m. or as soon thereafter as counsel may be heard, why an order should not be granted

  pursuant to Fed. R. Civ. P. 55(b)(2) and Local Civil Rule 55.2(b) granting Plaintiff a default
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judgment against the defendants 100 BROAD STREET LLC a/k/a ESSEN FOOD, ESSEN22 LLC

a/k/a ESSEN FOOD, JOHN BYUN, CHONG WON BYUN, and WILLIAM BYUN, jointly and

severally, and upon entry of the default judgment, an order pursuant to Fed. R. Civ. P. 62(a)

vacating the thirty (30) day stay from executing the default judgment;

     The hearing on the order to show cause will take place by telephone. The parties are directed

to the Court’s Emergency Rules in Light of COVID-19, which are available on the Court’s

website, for the dial-in number and other relevant instructions. The parties are specifically directed

to comply with Rule 2(C) of the Court’s Emergency Rules;

     Plaintiff shall file proof of service of this Order to Show Cause, Plaintiff’s declarations,

memorandum of law, exhibits, and all other supporting papers, by February 22, 2021. Any

opposition shall be filed no later than March 1, 2021. Any reply shall be filed no later than March

5, 2021; and

       The defendants are advised that failure to respond to this Order to Show Cause may be

grounds for the granting of a default judgment against them, in which event the defendants will

have no trial.

Dated: February 19, 2021                             _____________________________________
                                                            GREGORY H. WOODS
                                                           United States District Judge
